                               IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MISSOURI
                                        SOUTHERN DIVISION

NORMA ROGERS, ET AL.,                                           )
                                                                )
            Plaintiffs,                                         )
                                                                )
v.                                                              )    Case No. 19-3346-CV-S-RK
                                                                )
DOUGLAS GASTON, ET AL.,                                         )
                                                                )
            Defendants.                                         )


            Plaintiffs’ Suggestions in Opposition to Defendant Gaston’s Motion to Dismiss




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                                           Introduction

        Gaston seeks dismissal based on his claim that his arrest, detention, and forced drug-

testing of Plaintiffs was nothing more than routine actions that judges take against parties

appearing before them. The motion should be denied. It overlooks that Plaintiffs were not

parties; Gaston could not order their arrest, detention, and forced drug-testing even if they were

parties; and, assuming arguendo standing up during a court proceeding is sufficient to authorize

Gaston’s actions, one Plaintiff did not even do that. Gaston’s gratuitous violations of Plaintiffs’

constitutional rights are not immune from review. Moreover, Gaston suggests neither than he

recognizes that his actions were wrong or that he has abandoned his ways, so this case is not

moot.

                                        Standard of Review
        Gaston’s motion to dismiss for lack of subject matter jurisdiction is governed by Federal

Rule of Civil Procedure 12(b)(1). The factual allegations regarding jurisdiction are presumed to

be true and the motion may succeed only if the plaintiff failed to allege an element necessary for

subject matter jurisdiction. Titus v. Sullivan, 4 F.3d 590, 593 (8th Cir. 1993). “Dismissal for lack

of subject matter jurisdiction will not be granted lightly.” Wheeler v. St. Louis Sw. Ry. Co., 90

F.3d 327, 329 (8th Cir. 1996).

        Gaston’s motion for dismissal for failure to state a claim is pursuant to Rule 12(b)(6).

When ruling on a motion to dismiss under Rule 12(b)(6), this Court must accept as true all

factual allegations in the complaint and view them in a light most favorable to the plaintiffs.

Erickson v. Pardus, 551 U.S. 89, 94 (2007). In Zayed v. Assoc. Bank, N.A., 779 F.3d 727 (8th

Cir. 2015), the Eighth Circuit reversed the district court’s grant of a motion to dismiss. Id. at 737.

In so doing, the court emphasized that:



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         To survive a motion to dismiss, a complaint must contain sufficient factual matter,
         accepted as true, to state a claim to relief that is plausible on its face. A claim has
         facial plausibility when the plaintiff pleads factual content that allows the court to
         draw the reasonable inference that the defendant is liable for the misconduct
         alleged.

Id. at 732 (internal quotations and citations omitted). See also Mo. Broadcasters Assoc. v. Lacy,

846 F.3d 295, 300 (8th Cir. 2017) (reversing district court’s grant of motion to dismiss because

plaintiffs sufficiently alleged a cause of action); Hamilton v. Palm, 621 F.3d 816, 817 (8th Cir.

2010) (same).

                                              Statement of Facts
         On June 20, 2017, Plaintiff Norma Rogers and her husband, Arthur Rogers, observed a

proceeding in open court that related to custody of their granddaughter. They were not parties to

the probate case, but rather intended to observe the hearing and—if an opportunity arose—to

offer to care for their granddaughter. Plaintiff William Hale, who lives near the granddaughter’s

parents, drove the parents to court because they had no transportation. ECF No. 1 at ¶ 1.

Contrary to Defendant Gaston’s unfounded assertion in his motion to dismiss (see ECF No. 8 at

7), Gaston ordered Plaintiffs to be drug tested even though none of the Plaintiffs were “parties”

to the probate proceeding. Id. at ¶¶ 1-2.

         Although no Plaintiffs were a party to the probate proceeding, Gaston conspired with a

deputy sheriff to take Plaintiffs into custody, force them to provide a urine sample, test their

urine for drugs, and detain them, cuffed, in county jail. Id. at ¶ 2. Gaston forced Plaintiffs to be

drug tested even though they were not represented and not parties to the case. He demanded

“everyone that stood up here today” be drug-tested. ECF No. 1 at ¶ 28.1



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  Gaston’s action did not match his words. He did not force the attorneys to be drug-tested although they stood up at
the bench. He did require Plaintiffs to be drug-tested although none stood before the bench and one did not stand at
all.


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        Furthermore, the following exchange from the court proceeding establishes that Gaston

detained Plaintiff Arthur Rogers in custody for twenty-four hours merely because Gaston claims

Rogers looked at him the wrong way:

                 Gaston to Arthur Rogers: “Oh, come back. YOU JUST COME RIGHT
                 BACK. Something you want to say?”
                 Rogers: “No, sir! I’m—nothing!”
                 Gaston: “Well, you just bought yourself 24 hours in the Texas County
                 Jail for that look. Now anything else you wanna say or any looks you
                 want to give?”
                 Rogers: “I wasn’t giving—”
                 Gaston: “NO, you gave it and I saw it. Now is there anything else you wanna say
                 or are you smart enough to shut your mouth now? Good choice.”

ECF No. 1 at ¶ 29 (emphasis added). There is no basis for Gaston’s unfounded assertion that he

cited Plaintiff Rogers for contempt because Mr. Rogers allegedly “lunged in an aggressive

manner at Judge Gaston,” See ECF No. 8 at 7–8, and this assertion must be disregarded for

purposes of ruling on the pending motion.2

        As a result of Gaston’s actions, all three Plaintiffs spent at least eight hours in detention,

restrained to a metal bench for much of that time. Id. at ¶ 2. In addition, Arthur Rogers was not

released with the other Plaintiffs, but rather was detained overnight in a jail cell. Id. Because of

the ankle restraint Defendants used on him, Hale, who suffers from diabetes, developed an ulcer

on his foot that required amputation and still is susceptible to frequent infection. Id.

                                                  Argument

I.      Plaintiffs are not seeking monetary damages against Gaston.

        At the outset, Gaston argues that the Court should dismiss any claims for monetary

damages against him in his official capacity. ECF No. 8 at 9-10. The Complaint does not seek


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 Keeping this story straight has been challenging for Gaston. In his written explanation, he claimed that Rogers
“repeatedly ignored” Gaston’s commands “and use[d] inappropriate language after repeated warnings.” ECF No. 1
at ¶ 61. That, like his new claim of a lunge, is a work of fiction.


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monetary damages against Gaston. Plaintiffs pray that the Court “[e]nter declaratory judgment

against Defendant Gaston,” and “award Plaintiffs nominal, compensatory, and punitive damages

against the Doe Defendants.” ECF No. 1 at 15.3

II.      Gaston is not entitled to judicial immunity.4

         The Eighth Circuit recently reiterated two circumstances where a judge is not immune

from liability:

         First, a judge is not immune from liability for nonjudicial actions, i.e., actions not taken
         in the judge’s judicial capacity. Second, a judge is not immune for actions, though
         judicial in nature, taken in the complete absence of all jurisdiction.

Justice Network Inc. v. Craighead Cty., 931 F.3d 753, 760 (8th Cir. 2019) (quoting Mireles v.

Waco, 502 U.S. 9, 11–12 (1991) (per curiam)). Both circumstances are present here.

         A.       Gaston’s actions were not judicial acts taken in his judicial capacity.

         “[T]he factors determining whether an act by a judge is a ‘judicial’ one relate to the

nature of the act itself, i.e., whether it is a function normally performed by a judge, and to the

expectations of the parties, i.e., whether they dealt with the judge in his judicial capacity.”

Justice Network, 931 F.3d at 760 (quoting Stump v. Sparkman, 435 U.S. 349, 362 (1978)). Thus,

“to determine whether an act is judicial, courts look to the particular act’s relation to a general


3
 Despite making this argument for dismissal, even Gaston recognized “Plaintiffs seek only declaratory judgment
against [him].” ECF No. 8 at 16.
4
  A claim for prospective declaratory judgment is not barred by judicial immunity. See, e.g., Snow v. King, 2018 WL
656032, at *6 (N.D. Ala. Feb. 1, 2018) (holding that “Plaintiff’s requests for declarations that ‘the Court engages in
a pattern and practice of such conduct in violation of the Due Process, Takings Clauses of the 14th and 5th
Amendments, 42 U.S.C. 1983, 1st and 6th Amendments, the Alabama Constitutional corresponding provisions and
state common law and statutes,’ and that ‘[the nuisance] ordinance [is] unconstitutional to the extent it does not
require a description of said alleged inoperable vehicle and nuisance’ are prospective in nature and are not barred by
judicial immunity.”); CMLS Management, Inc. v. Fresno County Superior Court, 2012 WL 2931407, at *7 (E.D.
Cal. July 18, 2012) (“Judge Snauffer’s arguments that he is entitled to various immunities are not persuasive. Since
Plaintiffs are seeking prospective declaratory relief, neither judicial immunity nor Eleventh Amendment immunity
apply.”); McPherson v. Town of Southhampton, 664 F. Supp.2d 203, 211 (E.D.N.Y. 2009) (“To the extent Plaintiffs
seek prospective declaratory relief, viz. a declaration that the Justices’ enforcement of the Town rental law
constitutes a continuing violation of the Constitution, Plaintiffs’ claims are not barred by judicial immunity.”).


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function normally performed by a judge.” Id. (internal quotation marks omitted) (emphasis

added).

          Judges do not normally force anyone, even parties, into police custody for the involuntary

production and testing of their urine. This never happens to non-parties. Indeed, Gaston cannot

cite a single example of any judge anywhere doing so. Ever. This is not a “general function

normally performed” by judges. Thus, it is not an action taken in Gaston’s judicial capacity.

          Aware of just how unprecedented it is to force non-parties into police custody for forcible

drug-testing, Gaston attempts to recast his act as “requir[ing] all parties to be drug tested”

because “the safety and best interests of a three-year old child, K.C. (whose parents were

allegedly heavy users of methamphetamine and had recently absconded with her), were at stake.”

ECF No. 8 at 7. Gaston ignores that none of the Plaintiffs were parties. He overlooks Missouri

Supreme Court Rule 52, which describes how persons become parties to a civil action and, on

these facts, cannot sustain his claim that Plaintiffs were parties. Moreover, he disregards the

allegation in the Complaint that Plaintiffs were not parties to the proceeding. ECF No. 1 at ¶ 1;

id. at ¶ 2 (“none of the Plaintiffs were parties to the custody proceeding”). Furthermore, while it

is not necessary to go outside of the pleadings, a review of the Texas County case records for In

re K.C., No. 17TE-PR00037, also establishes that none of the Plaintiffs are named as parties.5

          At this stage, the narrow question is whether Gaston’s act forcing Plaintiffs, as non-

parties, into the custody of law enforcement and compelling them to produce a urine sample for

inspection by law enforcement and punishment by a court is a function “normally” performed by

a judge. While judges might sometimes require parties to a child custody dispute to undergo drug


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           Gaston invites the Court to take judicial notice of the public records in the case file. ECF No. 8 at 5 n. 1.
Although the state court does nothing to keep the minor’s name confidential, Plaintiffs use initials to identify the
case. See Fed. R. Civ. P. 5.2(a)(3).


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testing, they do not require this of non-parties. Moreover, even parties to a child custody case are

not forced into police custody for immediate extraction and testing of their urine sample or

detained in custody for a positive test.6

        Finally, Gaston’s reliance on Stump v. Sparkman, 435 U.S. 349 (1978), is misplaced.

ECF No. 8 at 12. In Stump, the plaintiffs attempted to overcome judicial immunity by arguing

that the judge’s “approval of a petition was not a judicial act because the petition was not given a

docket number, was not placed on file with the clerk’s office, and was approved in an ex parte

proceeding without notice to the minor, without a hearing, and without the appointment of a

guardian ad litem.” Id. at 360. The Court emphasized that prior precedent supported the

conclusion that the judge was entitled to judicial immunity. Id. at 360-61. There is no precedent

that helps Gaston. And, while approving a pleading is something judges across the country do

routinely, no judge does what Gaston did here.

        Gaston is not entitled to judicial immunity because forcing non-parties into the custody of

law enforcement to produce a urine sample for analysis and detaining them thereafter is not a

judicial act.

        B.       Gaston did not act within his jurisdiction.
        As broad as the Supreme Court’s test is for whether an action is within a judge’s

jurisdiction for immunity purposes, it is not so boundless as to encompass Gaston’s act of forcing

non-parties into police custody for drug-testing and detention.




          6
            Judges might be entitled to judicial immunity when they require parties to a child custody case to
undertake a drug test. See, e.g., Thomas v. State of Texas, 294 F. Supp.3d 576, 601 (N.D. Tex. 2018) (holding that
judge was entitled to judicial immunity when he ordered plaintiff, the mother of three children in a child custody
case, to undergo drug tests); Schwab v. Kansas, 2017 WL 283150-8, at *10 (D. Kan. June 30, 2017) (same; ordering
parents to undergo drug testing in child in need of care proceedings). No case supports taking individuals into
custody or drug-testing non-parties, and these cases cannot be stretched to shield Gaston’s actions from review.

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         At the outset, Gaston’s argument fails because it is premised on the assertion that

Plaintiffs were “parties” before him. ECF No. 8 at 14. This is contrary to the allegations in the

Complaint and Missouri law. Gaston also pretends that he merely required a drug-test, ignoring

that he forced Plaintiffs into the custody of law enforcement for the drug test and had them

detained even after the test was complete; he does not explain how these acts were in aid of his

jurisdiction over the probate case.

         Mireles highlights the difference between situations in which there is judicial immunity

and this case. There, a judge ordered police officers to “forcibly and with excessive force seize

and bring” a public defender who “failed to appear for the initial call” before the judge. Mireles

v. Waco, 502 U.S. 9 (1991). Finding judicial immunity, the Court emphasized that “[a] judge’s

direction to court officers to bring a person who is in the courthouse before him is a function

normally performed by a judge” and “cannot be said to have been taken in the absence of

jurisdiction.” Id. at 12-13. In contrast, it is not a normal function of a judge to require observers

to court proceedings to be taken into police custody for the purpose of extracting a urine sample

for drug testing and to remain detained after the test is complete. Not only are Plaintiffs not

officers of the court, as were the Mireles plaintiffs, they were not simply brought before the court

but also taken into police custody, forced to submit to two suspicionless government searches,7

and detained even after their drug tests. And despite Gaston’s post hoc attempts to rationalize his

action, this was not an act in aid of his jurisdiction. He imagines (contrary to the pleadings) that

Mr. Rogers lunged at him, which if true might disrupt proceedings, but even then does not



7
  In the drug-testing, even outside of the law enforcement and punishment context that Gaston imposed here, the
collection of the urine sample and the subsequent analysis of that sample constitute separate Fourth Amendment
violations. Skinner v. Ry. Labor Executives’ Ass’n, 489 U.S. 602, 616 (1989) (stating that “it is obvious that this
physical intrusion, penetrating beneath the skin, infringes an expectation of privacy that society is prepared to
recognize as reasonable. The ensuing chemical analysis of the sample to obtain physiological data is a further
invasion of the tested employee’s privacy interests.”).

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explain why Mrs. Rogers and Mr. Hale were taken into police custody, detained, and forced to

submit to a drug test. And he pretends that Mr. and Mrs. Rogers were parties, even though they

were not, because—unbeknownst to Gaston—they would have been willing to take custody of

their granddaughter if necessary but does not explain why he subjected Mr. Hale to such

government overreach.

III.   Plaintiffs’ claim for declaratory relief is not moot.
       Plaintiffs seek “declaratory judgment against Defendant Gaston.” ECF No. 1 at 15.

Consistent with applicable law, Plaintiffs seek prospective declaratory relief. See Justice

Network, 931 F.3d at 763-64.

       Gaston argues that Plaintiffs’ request for declaratory relief is moot because he thinks

“there is neither any alleged ongoing deprivation of [Plaintiffs’] constitutional rights, nor an

allegation that such a deprivation is imminent.” ECF No. 8 at 17. He speculates that it is unlikely

that Plaintiffs will ever be subject to his overreach in the future, especially after he has recused

himself from the probate case involving Mr. and Mrs. Rogers’s granddaughter.

       A ruling on a motion to dismiss considers the allegations in the Complaint, not a

defendant’s self-serving musings. See Doe v. Nixon, 716 F.3d 1041, 1051 (8th Cir. 2013) (“The

heavy burden of persuad[ing] the court that the challenged conduct cannot reasonably be

expected to start up again lies with the party asserting mootness.”). Plaintiffs allege that Gaston

“is prone to losing his temper” and “has since [June 20, 2017], ordered the arrest, drug testing,

and detention without probable cause of an unrelated nonparty in an unrelated matter.” Id. at ¶ 3.

See also id. at ¶¶ 70-73. Moreover, Plaintiffs specifically allege that Gaston “has instituted and

carried out a policy of arbitrarily and capriciously ordering the arrest, detention, and drug testing

of members of the public who observe court proceedings and/or who associate with litigants who



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appear in his court in order to chill their First Amendment-protected expressive activity.” Id. at

¶ 93. See also id. at ¶ 75.

        Gaston is the resident judge at the Texas County Courthouse. Like the rest of the public

who enter the Courthouse for any reason, Plaintiffs—who all live within his circuit, id. at ¶¶ 4-

5—are at risk of being subjected to his unconstitutional whims again in the future. Gaston has

not renounced the policy (of ordering the arrest, detention, and drug-testing of members of the

public) and it is therefore still in effect. See Kennedy Building Assocs. v. Viacom, Inc., 375 F.3d

731, 745 (8th Cir. 2004) (holding that a case becomes moot only “if it can be said with assurance

that there is no reasonable expectation that the violation will recur or if interim relief or events

have completely and irrevocably eradicated the effects of the alleged violation”). There is a

reason one of the Doe Defendants intimated to Norma Rogers after the fact that Defendant

Gaston had a track record of making similar commands. Compl. at ¶ 75. In fact, Gaston is so

attached to this policy that, in the other unrelated matter described by Plaintiffs in the Complaint

wherein Gaston had a non-party drug-tested and detained, Gaston defended his actions and said

to act otherwise would have “set a dangerous precedent.” Id. at ¶ 74. He has given the court no

reason to believe he has changed that view. Kennedy Building Assocs., 375 F.3d at 745

(reiterating that the burden of proving mootness is on the party asserting it); accord Doe, 716

F.3d at 1051.

        Even if Gaston were to claim that this policy is no longer in effect, it would not make

declaratory relief moot as “voluntary cessation of a challenged practice does not moot a case

unless ‘subsequent events ma[ke] it absolutely clear that the allegedly wrongful behavior could

not reasonably be expected to recur.’” Trinity Lutheran Church of Columbia, Inc. v. Comer, 137

S. Ct. 2012, 2019 n.1 (2012) (holding that constitutional claim was not moot despite government



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official’s announcement that allegedly unconstitutional policy would no longer be enforced).

There is no reasonable expectation that, even if the policy were renounced (which it has not

been), it cannot be reasonably expected to recur, given that it has already been repeated. See

Missourians for Fiscal Accountability v. Klahr, 830 F.3d 789, 795 (8th Cir. 2016) (holding that

although unconstitutional fee had never been imposed, defendant could “at any time implement

its policy and assess the fee,” and therefore the parties “continue[d] to have adverse legal

interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment”).

In addition, Plaintiff Hale continues to experience the painful effects of Gaston’s violation.

Kennedy Building Assocs., 375 F.3d at 745 (holding that a case is moot if “events have

completely and irrevocably eradicated the effects of the alleged violation”).

         Plaintiffs live nearby (Compl. at ¶¶ 4-5) and could return to the Courthouse at any time—

for example, to observe hearings in criminal cases involving Mr. Rogers’ daughter, which have

occurred repeatedly since this date, including before Gaston. See 18TE-CR00288.8 They have

pled sufficient facts to seek prospective declaratory relief that Gaston cannot continue to

arbitrarily and capriciously order the detention and drug testing of members of the public who

observe court proceedings or who associate with litigants who appear in court.9

                                                      Conclusion

         For the foregoing reasons, the Court should deny Defendant Gaston’s motion to dismiss.



8
 It is not necessary to go beyond the pleadings to deny Defendant Gaston’s motion to dismiss. However, should the
Court disagree, Plaintiffs request the opportunity to amend before the Court rules on the motion.
9
  Gaston declares that he “had nothing to do with the method by which” the Doe Defendants carried out his demand
that Plaintiffs be drug-tested and that he “never ordered Plaintiffs detained.” (Br. at 15.) This flight of fancy is belied
by the fact that he explicitly summoned law enforcement to conduct the drug-testing immediately (Compl. at ¶ 29,
quoting Gaston as calling out, “Sheriff, will you help me carry that out?”) and then explicitly commanded be
Plaintiffs detained (Id. at ¶ 40). Further, he did not intervene as Defendant John Doe 1 escorted the handcuffed
Plaintiffs out of his courtroom. Id. at ¶ 41. Gaston’s effort to shirk responsibility for the harm he caused must be
rejected, particularly at the motion to dismiss stage.

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                                       Respectfully submitted,

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                                  CERTIFICATE OF NOTICE

       I hereby certify that on January 10, 2020, the foregoing was filed electronically through

the Court’s electronic filing system to be served electronically on counsel for all parties.

                                                      /s/ Anthony E. Rothert




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